            Case 2:05-cr-00231-JCC            Document 789     Filed 12/14/05     Page 1 of 1



 1                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 2                                           AT TACOMA

 3
      UNITED STATES OF AMERICA,
 4
                                 Plaintiff,                       CR05-231JCC
 5            v.
 6    GEORGE WEGERS, et al.,                                      MINUTE ORDER RE:
                                                                  SETTLEMENT CONFERENCE
 7                               Defendants.
 8
             THIS matter came before United States Magistrate Judge, J. Kelley Arnold, pursuant to an order
 9
     of reference from the Honorable John C. Coughenour referring certain defendants named in the above
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     captioned cause for a settlement conference.
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             Those defendants referred for the date of December 14, 2005, were: Darrell Morris, Michael
12
     Pleich, Walter Bail, and Vincent Reeves. The United States appeared through Assistant United States
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     Attorneys Ye-Ting Woo and Todd Greenberg. Defendants Morris, Pleich, and Bail appeared with
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     counsel. Defendant Reeves did not appear personally, but appeared through counsel and was available by
15
     telephone.
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             Defendants Morris and Pleich entered into plea agreements which were reduced to writing
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     and presented to the Honorable Ronald B. Leighton.
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             Defendant Bail and his attorney remain in discussion with the United States Attorney,
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     though no final resolution was entered into this date, Magistrate Judge Arnold remains available
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     to work with the parties.
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             Defendant Reeves was not personally present and was unable to reach resolution with the
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     government. This court is interested in continuing to assist the parties if both parties request the
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     court’s assistance.
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     Entered this 14th day of December at the direction of U.S. Magistrate Judge, J. Kelley Arnold by Deputy
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     lerk, /s/Kelly Miller.
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